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                                          !
                                          i
                                 UNITED STATES DISTRICT COURT
                                      I                    -
                                 SOUTHERN DISTRICT OF FLORIDA
                                      I 22-CR~20152-KMM

  UNITED STATES OF AMERICA]
                                    ;     I
                                         I
                                         I
  v.

  ELIZABETH HERNANDEZ

             Defendant.
  - - - - - - - - - - - - - ~ -I


                              GOVERNMENT ADMITTED EXHIBITS LIST
                          -              I
  The government may add or remove ~ocuments from this list, and reserves the right to decline to
  admit any document on this list. Thejgovermn'ent further reserves theright to add any exhibit on
  the defondant's exhibit list, and any ,ocument .or exhibit necessary for rebuttal.

                                         j
   Exhibit




                         Medicare Claims Data Summary, Genetic Tests and Orthotics Ordered by
       102    9/13/2023 Elizabeth H~rnandez_Over Time by Number of Beneficiaries             •
                         Medicare
                             -
                                  qaims
                                    I
                                          Data
                                             '
                                               Summary, DME/Orthotics and Genetic Tests
       103    9/13/2023 Ordered by plizabeth Hernandez, Map of Beneficiary Residences
                         Medicare Claims Data Summary, Orthotics/Braces Ordered by Elizabeth
                                    I
       104    9/13/2023 Hernandez (j)ver Tim_e by Number of Braces
                         Medicare Claims Data Summary, Number of Orthotics/Braces per
       105    9/13/2023 Beneficiary brdered by Elizabeth Hernandez
                         Medicare qaims Data Summary, Knee Braces Ordered by Elizabeth
       106    9/1 ~/2023 Hernandez and Reimbursement Rates
                         Medicare Claims Data Summary, Orthotics and DME Ordered by
       107    9/13/2023 Elizabeth H~rnandez:
                         Medicare Claims Data Summary, Genetic Tests Ordered by Elizabeth
       1Q8    9/13/2023 Hernandez i
                         Medicare Claims Data-Summary, Genetic Tests Ordered by Elizabeth
       109    9/13/2023 - Hernandez Over Time by Number of Tests
                              Nationwide Ranking of Ordering Practitioners for Genetic Tests, Dates of
       110    9/13/2023       Service Jan 2018 to J;)ec 202 L
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   Exhibit     Date
    No.      Admitted
                         Medicare Cl~ims Data Summary, Genetic Tests Ordered by Elizabeth
     111     9/13/2023   Hernandez, 9"ene Analysis - Noonan Syndrome; Code 81442
                         Nationwide ~anking of Ordedng Practitioners for Gene Analysis ~
                                     l                       -
                         Noonan Syndrome;
     112     9/13/2023   Code 81442) Dates of Service Jan 2018 to Dec 2021
                         Medicare Claims Data Summary,
                                     I              -
                         Evaluation & Management Services Billed by Elizabeth Hernandez Over
     113     9/13/2023   Time by Nu~ber of Visits
                                     I
                          Medi~are Cl~ims Data Summary, Part B Claims for Telehealth Services
     114     9/13/2023    Billed byEl~zabeth Hernandez, Map ofBeneficiaryResidences
                          Medicare Clhims Data Summary, Part B Claims for Services Billed by
     115      9/13/2023 Elizabeth HJrnandez
     116     '9/13/2023 Medicare Cl"aims Data Summary, Counts 2-7
                          Medicare Cfaims Data Summary, Time Analysis of Office Visits Billed
     117      9/13/2023- by Elizabethl Hernandez
                          Certificatio~ Statement for Individual Practitioners (8551), signed by
                          Elizabeth H6rnandez on March 17, 2020 (HERNANDEZ-DOB-
    120       9/13/2023 00000003 88j through HERNANDEZ-DOB-0000000392}
                          R.C. record~ faxed to CMS by Maria Aleu on January 13, 2021
                          (HERNANqEZ-DOB-0000001300 through HERNANDEZ-DOB~
     122      9/13/2023 0000001306~
                          A.R. record~ faxed to. CMS by Maria Aleu on January 13, 2021
                          (HERNANDEZ-DOJ3-0000000958 through HERNANDEZ-DOJ3-
     123_     9/13/2023 000000096lt)
                          P .J. Medicare Summary Notice provided to CMS by Monique Thomas
                                       I               -
                          (Senior Meqicare Patrol) (HERNANDEZ-DOB-0000000399 through
     124      9/15/2023 HERNANDpZ-DOB-0000000403)
     125      9/13/2023 Medicare C~aims Data Sumrp.ary Counts 8 to 10
                          Medicare P~rt B Claim~ Data with Elizabeth Hernande·z as Rendering
                                       I
    126       9/13/2023 Provider, 1/1/2017 - 10/8/2021 (HERNANDEZ-DOB-0000000410)
                          DME Medidare Part B Claims Data with Elizabeth Hernandez as
                        -        -     I                                           -
     127      9/13/2023 Referring P~ovider, 1/1/2017 - 10/8/2021 (Produced native)
                          Laboratory Medicare Part B Claims Data with Elizabeth Hernandez as
                          Referring Pt:ovider, 1/1/2017-10/8/2021 (HERNANDEZ-DOJ3-
     12.8     9/13/2023 0000000409,)
                          UnitedHealthCare Claims Data for Elizabeth Hernandez Genetic Testing
                                     i
     129_    9/15/2023   Referrals, 2© 18-202 r (Produced native)
                       -Humana Claims Data for Elizabeth Hernandez Genetic Testing Referrals
                                    I          -                                          -
     130     9/15/2023 - (Produced native)
                         Nationwide Ranking - Referring Providers for Genetic Testing, 2018-
     131     9/13/2023 2021 (Produced native)

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   Exhibit      Date
    No.       Admitted
                           Nationwide ~anking :.__ Referring Providers for CPT Code 81442, 2018-
    132       9/13/2023    2021 (Produ~ed native)
                           Medicare Cl~im for Evaluation &
                           Management Visit billed by Elizabeth Hernandez for J.W.
     133      9/15/2023    (HERNANQEZ_ 000006854 7 through HERNANDEZ_0000068548)

                         Medicare Claim for Genetic Testing Amerihealth Laboratory billed for
    134       9/15/2023 J.W. (HERNANDEZ_0000069425 through HERNANDEZ_0000069429)
                         Tri care Expl1mation of Benefits for. 99204 visit billed by Elizabeth
     135      9/15/2023 Hernandez for J.W. (HERNANDEZ_0000069430)
                         Medicare Cl~ims Data Summary, Part B Claims for DME/Orthotics
                       . Ordered by If,lizabeth Hernandez after Feb 2, 2019 and Genetic Tests
    136       9/13/2023 Ordered after September 29, 2019

    201      • 9/15/2023   Monthly Do~uSign Time Analysis
    202        9/15/2023   Daily Docu~ign Time Analysis
    203        9/15/2023   DocuSign T~me Analysis
    204        9/15/2023   DocuSign Analysis for D.D. (Count 8 Beneficiary)
                           March 1,2019 Doctor's Order for Braces for B.R. (HERNANDEZ-DOJ-
                                       '
    205       9/14/2023 00009866791 through HERNANDEZ-DOJ-0000986688). ·
                           March 1, 2019 B.R. DocuSign timestamps (HERNANDEZ-DOJ-
    205A      9/14/2023 0002021192lthrough HERNANDEZ-DOJ-0002021196)
                           March 11, 2019 Doctor's Order for Braces for R.M. (HERNANDEZ-DOJ-
    206       9/.14/2023 . OQ00986190j through HERNANDEZ-DOJ-0000986199)               • •
                           March 1 l, 2019 R.M. DocuSign Timestamps (HERNANDEZ-DOJ-
    206A      9/14/2023 00020242651 through HERNANDEZ-DOJ-0002024269)
                           March 15, 2019 Doctor's Order for Braces for L.G. (HERNANDEZ-DOJ-
    207       9/14/2023 0001003059ithrough HERNANDEZ-DOJ-0001003068)
                           March 15,2019 L.G. DocuSign Timestamps (HERNANDEZ-DOJ-
    207A      9/14/2023 0002011080~ through HERNANDEZ-DOJ-2011084)
                           Ma~ch 17, 2019 Doctor's Order for Braces for W .B. (HERNANDEZ-DOJ
    208       9/14/2023 0000935744! through HERNANDEZ-DOJ-0000935753)
                           March 17, 2019 W.B: DocuSign Timestamps (HERNANDEZ-DOJ-
    208A      9/15/2023 0002010024 through .HERNANDEZ-DOJ-0002010028)
                           March 19, 2019 Doct.or's Order for Braces for D.W. (HERNANDEZ-DOJ
    209       9/14/2023 0000936159i through HERNANDEZ-'DOJ-0000936168) .
                           March 19, 2019 D.W. DocuSign Timestamps (HERNANDEZ-DOJ-
    209A      9/14/2023 0002016353! through HERNANDEZ-DOJ-0002016357)
                           March 26, 2019 Doctor's Order for Braces for D.S. (HERNANDEZ-DOJ-
    210       9/14/2023 00009121 Hi through HERNANDEZ-DOJ-0000912119)
                           March 26, 2019 D.S. DocuSign T1mestamps (HERNANDEZ:DOJ-
    210A      9/14/2023 O002010034 through HERNANDEZ-DOJ-0002010038)

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   Exhibit     Date
    No.      Admitted
                          March 26, 2@19 Doctor's Order for Braces for V.S. (HERNANDEZ-DOJ-
    211      9/14/2023 000094 7027jthrough HERNANDEZ.,DOJ-0000947036)
                          March 26, 2@19 V.S. DocuSign Timestamps (HERNANDEZ-DOJ:-
    211A     9/14/2023 0002019716!through HERNANDEZ-DOJ-0002019720)
                          March 27, 2@i9 Doctor's Order for Braces for D.D. (HERNANDEZ-DOJ-
    212      9/14/2023 0000912990jthrough HERNANDEZ-DOJ-0000912999)
                          March 27, 2~19 D.D. DocuSign Timestamps (HERNANDEZ-DOJ-
    212A     9/15/2023 0002020887jthrough HERNANDEZ-DOJ-0002020891)
                          March 28, 2019-Doctor's Order for Braces for J.K. (HERNANDEZ-DOJ-
    213      9/14/2023 0000917770Jthrough HERNANDEZ-DOJ-0000917779)
                          March 28, 2~19 J.K. DocuSign-Timestamps (HERNANDEZ-DOJ-
    213A     9/14/2023 0002014178I through HERNANDEZ-DOJ-0002014182)
                          April 4, 2019 Doctor's Order for Braces for J.C. (HERNANDEZ-DOJ-
    214      9/14/2023 0000936799I through HERNANDEZ-DOJ:-0000936808)
                          April 4, 201~ J.C. DocuSign Timestamps (HERNANDEZ,.DOJ-
    214A     9/14/2023 0002022202j through HERNANDEZ-DOJ-0002022206)
                          April 8, 2019 Doctor's Order for Braces for C.W. (HERNANDEZ-DOJ-
    215      9/14/2023 0000939180) through HERNANDEZ-DOJ-0000939189)               -
                          Apri(8, 2019 C.W. DocuSign Timestamps (HERNANDEZ-DOJ-
    215A     9/14/2023 0002019638jthrough HERNANDEZ-DOJ-0002019642)
     216     9/15/2023 DocuSign Guide
     217     9/15/2023 -_ DBO Data [?ictionary, DocuSign (HERNANDEZ-DOJ-0002025500)

                        January 30, t019 Text Messages between Ledesma and-Hernandez
                        (HERNANJ:?EZ-DOJ_-0002040524 through HERNANDEz.:DOJ-
    301      9/13/2023 0002040530D
                       _January 31, 2019 Text Messages between Ledesma and Hernandez
                                    I
                        (HERNANPEZ-DOJ-0002040533 through HERNANDEZ-DOJ-
                                    1
    302      9/13/2023 00020405420
                        February 1, io19
                                    I
                                         Text
                                          -
                                              Messages
                                                  -
                                                       between Ledesma and H~rnandez
                        {HERNANJ:?EZ-DOJ-0002040544 through HERNANDEZ-DOJ-
    303      9/13/2023 00020405451)                                  -
                        February 4, 2019 Text Messages between Ledesma and Heinandez
                        (HERNANJ:?EZ-DOJ-0002040566 through HERN_ANDEZ-DOJ-
    304      9/13/2023 00020405671)
                        February 8, 2019
                                    I
                                         Text Messages
                                                    -
                                                       between Ledesma and
                                                                        -
                                                                           Hernandez
                                                                                 -
                        (HERNANI?EZ-DOJ-00020405 87 thro:ugh HERNANDEZ-DOJ-
    305      9/13/2023   000204058Q)
                         February 12j 2019 Text Messages between Ledesma and Hernandez
    306      9/13/2023   (HERNANDEZ-DOJ-0002040618)




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   Exhibit     Date
    No.      Admitted
                         February 13,j2019 Text Messages between Ledesma and Heinandez
                         (HERNA~EZ-DOJ-0002040627 through HERNANDEZ-DOJ-
    307      9/13/2023 . 0002040628)
                         February 22,12019 Text Messages,between Ledesma and Hernandez
                                      I            .
                         (HERNAND,EZ-DOJ-0002040628 through HERNANDEZ~DOJ-
    308      9/13/2023 0002040672)
                         February 13, 2019 Text Messages between Ledesma and Hernandez
                                      1
                         (HERNA~EZ-DOJ-0002040751 through HERNANDEZ-DOJ-
    309      9/13/2023 0002040752)
                         March 21, 2019 Text Messages between Ledesma and Hernandez
                                     j '                '                           '
                         (HERN~EZ-DOJ-0002040777 through HERNANDEZ-DOJ-
    310      9/13/2023 0002040779)
                         March 25; 2019
                                      I
                                         Text Messages between• Ledesma and Hernandez
                         (HERNA~EZ-DOJ-0002040793 through HERNANDEZ-DOJ-
    311      9/13/2023 0002040794}
                         March 27, 2@19 Text Messages between Ledesma and Hernandez
                                    I


                         (H:ERNANQEZ-DOJ-0002040810 through HERNANDEZ-DOJ-
                                      I
    312      9/13/2023 0002040812}
                         March 31, 2919 Text Messages between Ledesma and Hernandez
                         (HERNA~EZ-DOJ-000204085 8 through HERNANDEZ-DOJ-
    313      9/13/2023 0002040860D
                      • March 31, 2~19
                                     I
                                         Text Messages
                                                 ,
                                                          between Ledesma and Hernandez
                         (HERNANL1EZ-DOJ-0002040845 through HERNANDEZ~DOJ-
    314      9/13/2023 0002040850~
                         April 8, 201~ Text Messages between L_edesma and Hernandez
    315      9/13/2023 (HERNA~EZ-DOJ-0002040908)
                         April 11, 2oi9 Text Messages between Ledesma and Hernandez
    316      9/13/2023 (HERNANI?EZ~DOJ:-0002040918)
                         April 12, 2019 Text Messages between Ledesma and Hernandez
                                     I      ..
                         (HERNANDEZ-DOJ.-0002040924 through HERNANDEZ-DOJ-
    317      2113no23 00020409250             '
                         May 2, 2019iI Text Messages• .between Ledesma and Hernandez
                                                                                  •
                         (HERNANI?EZ-DOJ-0002040973 through HERNANDEZ-DOJ-
                                    I          ,

    318      9/13/2023 0002040978D
                         May 13, 20119 Text Messages between Ledesma and Hernandez
    319      9/13/2023 (HERNANI?EZ-DOJ-0002040995)
                         June 18, 20~9 Text Messages between Ledesma and Hernandez
    320      9/13/2023   (HERNANI?EZ-DOJ-0002041036)
                       June 24, 20]9 Text Messages between Ledesma and Hernandez
                                   I
                       (HERNANDEz:.DOJ-0002041052 through HERNANDEZ-DOJ-
    321      9/13/2023 0002041053;)



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   Exhibit      Date
    No.       Admitted
                           July 10, 201~ Text Messages between Ledesma and Hernandez
    322       9/13/2023    (HERNANI),EZ-DOJ-0002041068)
                           January 8, 2~20 Text Messages between Ledesma and Hernandez
                                           I
                           (HERNAN~EZ-DOJ:-0002041332 through HERNANDEZ-DOJ-
    323       9/13/2023 0002041336~
                           January 15, +020 Text Messages between Ledesma and Hernandez
    324       9/13/2023 (HERNANtjEZ-DOJ-0002041368)
                           February 27,j 2020 Text Messages between Ledesma and Hernandez
                           (HERNANDEZ-DOJ-0002041536
                                          I
                                                               through HERNANDEZ-DOJ-
                                                                            ,
    1325      9/13/2023 00020415370
                           February 27,12020 Text Messages between Ledesma and Hernandez
                                          !                                      .
                           (HERNANUEZ-DOl-0002041531
                             •            I
                                                               through HERNANDEZ-DOJ-
    326       9/13/2023 00020415329
                           March 4, 2oio Text Messages between Ledesma and Hern3;ndez
                                          I
                           (HERNANDEZ-DOJ'..0002041571 through HERNANDEZ~DOJ-
    327       9/13/2023 00020415739'
                           March 7, 2020  I
                                             Text Messages between Ledesma and Hernandez
    328       9/13/2023 (HERNANl?EZ-DOl-0002041586)
                           April 23, 2oto Text Messages between Ledesma and Hernandez
                           (HERNANDEZ-DOl-0002041696
                                          I        .
                                                               through HERNANDEZ,.DOJ-
    329       9/13/2023 0002041698D
                         . April 24, 2oto Text Messages between Ledesma and Hernandez
                        . (HERNA~EZ-DOJ-0002041698 through HERNANDEZ-DOJ,.
    330       9/13/2023 00020411010
                           May 3, 2029 Text Messages between-Ledesma and Hernandez
                           (HERNANJ:?EZ-~OJ-0002041716 through HERNANDEZ-DOJ-
    331       9/13/2023 0002041718D
                           May 8, 2029 Text Messages between L~desma and Hernandez
    332       9/13/2023 (HERNANDEZ-DOJ-0002041732)
                           June 2, 202Q1 Text Messages between Ledesma
                                                                    ,
                                                                         and Hernandez
                           (HERNANf?EZ-DOJ-0002041778 through HERNANDEZ:-DOJ-
    333       9/13/2023 . 000204 l 779J           •
                           July 23, 202p_ Text Messages between Ledesma and Hemandez
    334       9/13/2023 (HERNA~EZ-DOJ-0002041905)
                           July 31, 202,bI Text Messages
                                                  •
                                                         between Ledesma and Hernandez
                           (HERNANDEZ:-DOJ-0002041935 through HERNANDEZ-DOJ-
                                         I
   • 335      9/13/2023 000204193~)
                           August 4, 2920 Text Messages between Ledesma and Hernandez
    336       9/13/2023    (HERNA~EZ-DOJ-0002041942)
                           August 5, 2920 Text Messages between Ledesma and Hernandez
    337      • 9/13/2023   (HERNANJ?EZ-DOJ-0002041946)



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   Exhibit      Date
    No.       Admitted
                            August 7, 2920 Text Messages between Ledesma and Hernandez
                            (HERNANPEZ-DOJ-0002041949_ through HERNANDEZ-DOJ-
     338       9/13/2023 0002041950D"
                         - August 12, 4020 Text Messages between Ledesma and Hernandez
     339       9/13/2023 (HERNANPEZ-DOJ-0002041977)
                            August 13, ~020 Text Messages between Ledesma and Hernandez
                            (HERNANI)EZ-DOJ-0002041986
                                         1
                                                                through HERNANDEZ.,DOJ-
     340       9/13/2023 0002041987v
                            August 17, ~020 Text Messages between Ledesma and Hernandez
                            (HERNANI?EZ-DOJ-0002041997 thorugh HERNANDEZ:-DOJ-
     341       9/13/2023 0002041999D
                            August 20, 2020 Text Messages between Ledesma and Hernandez
                                         I       .           ,                 -      .
                            (HERNANPEZ-DOJ-0002042008 through HERNANDEZ-DOJ-
     342       9/13/2023 000204201 OD
                            August 25·, ~020 Text Messages between Ledesma and Hernandez
     343       9/13/2023 (HERNANpEZ:-DOJ,-0002042024)
                            September 2;, 2020Text Messages between Ledesma and H'.ernandez
     344     - 9/13/2023 (HERNANQEZ-DOJ-000204203 7)
                            September 31, 2020 Text Messages between Ledesma and Hernandez
                                      . I
     345       9/13/2023 (HERNANpEZ-DOJ-0002042038)                                    •
                          • September 1)0, 2020 Text Messages between Ledesma and Hernandez
     346       9/13/2023 (HERNANQEZ~DOJ-0002042062)                          •
                            September 111, 2020 Text Messages between Ledesma and Hernandez
                                         I                    .                               .
                            (HERNANPEZ-DOJ-0002042068through
                                         1  •
                                                                        HERNANDEZ-DOJ-  '
     347       9/13,/2023 00020420691)
                            September ~2, 2020 Text Messages between Ledesma and Hernandez
                            (HERNAN_qEZ-DOJ-0002042099through HERNANDEZ-DOJ-
     348       9/13/2023 0002042102)
                            Septembet; 44, 2020 Text Messages betw_e_eh Ledesma and Hernandez
                            (HERNANJ:?EZ-DOJ-0002042104 through HERNANDEZ-DOJ-
     349       9/13/2023 0002042105;)
                            October 6, ~020 Text Messages between Ledesma and Hernandez
                            (HERNANDEZ-DOJ-0002042145 through HERNANDEZ.:.DOJ-
                                        1
     350       9/13/2023 000204214'ij)
                            Text Messages between Richard Epstein and Zach Davis (HERNANDEZ-
     354       9/14/2023 DOJ-00024i0369)
    -355       9/18/2023 Text Messages between Michael Stein and Elizabeth Hernandez
                            Image extra~ted from' text messages between Michael Stein and Elizabeth
   • 355A      9/18/2023 Hernandez :
                            Image extrafted from text messages between Michael Stein and Elizabeth
    355B       9/18/2023 Hernandez '



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   Exhibit     Date
    No.      Admitted
                        Image extradted from text messages between Michael Stein and Elizabeth
    355C     9/18/2023 Hernandez 1
     358     9/18/2023 iMessage M~ssages between Aleu and Hernandez
                        October 25, 2021 Email of Screenshots of Messages between Maria Aleu
                                     I

    358A     9/18/2023 and Hernanqez
                        October 25, 1021 Email of Screenshots oflviessages between Maria Aleu
    358B     9/18/2023 and Hernanqez
                        October 25, 1021 Email of Scree;nshots of Messages between.Maria Aleu
    358C     9/18/2023 and Hernanqez
                        October 25, 2021 Email ofScreenshots of Messages between Maria Aleu
                                      I
    358D     9/18/2023 and Hernanqez
                        October 25, ~021
                                      I
                                          Email of Screenshots of Messages between Maria Aleu
    358E     9/18/2023 and Hernanqez
                        October 25, ~021 Email of Screenshots oflvlessages between Marfa Aleu
    358F     9/18/2023 and Hernan4ez
                        October 25, ~021 Email of Screenshots of Messages between Maria Aleu
                                      I                                                        '
    3580     9/18/2023 and Hernanqez
                        October 25, ,2021 Email of Screenshots of Messages between Maria Aleu
    358H     9/18/2023 and Hernan4ez
                        October 25, ~021 Email of Screenshots .of Messages between Maria Aleu
    3581     9/18/2023 and Hernanqez
                        Oct_ober 25, ~021 Email of Screenshots of Messages between Maria Aleu
    358J     9/18/2023 and Hernandez
                       _October 25, ~021 Email of Screenshots of Messages between Maria Aleu
    358K     9/18/2023 and Hernanqez
     359     9/18/2023 Text Messages between Maria Aleu and Hernandez
                        Composite qf Select Attachments from Text Messages between Aleu and
    359A     9/18/2023 Hernandez j
                        WhatsApp $:essages between Elizabeth Hernandez and Antonio
    360      9/18/2023 Gousgounis [
                        October 15, :2020 Text Messages between Elizabeth Hernandez and Grace
    361      9/19/2023 Oropesa       /
                        October 23, :2020 Text Messages between Ledesma and Hernandez
                        (HERNANIDEZ-DOJ-0002042166 through HERNANDEZ-DOJ-
    364      9/13/202J 0002042171b          •
                        September ~6, 2020 Text Messages between Ledesma and Hernandez
    365      9/13/2023 (HERNANI\)EZ-DOJ-0002042085)
    366      9/19/2023 2020.12.11 'irextMessages between Hernandez and Oropesa
    367      9/18/2023 Text Messages between Michael Stein and Chris Hutson




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   Exhibit     Date
    No,      Admitted
                         August 21, 2:018 Email exchange between Elizabeth Hernandez and
                         Claudia Fe~andez (Dial4MD) Re: I'm getting an error message for
                        patient belof. (HERNANDEZ-DOJ-0007195659 through HERNANDEZ
    402      9/19/2023 DOJ-7195690)
                         August 27, j018 Email exchange between Elizabeth Hernandez and
                         akeye@adva~tagechoicecare.com Re: Elizabeth Hernandez PECOS info
    403      9/19/2023 (HERNANI)EZ-DOl-0007195497)
                       • September 1~, 2018 Email exchange between Elizabeth Hernandez and
                         Alicia Hiller;(Lifeline Recruiting) Re: Tele Med: PSA, Direct Deposit, 19
                         and W9 (HERNANDEZ-DOJ-0003200798 through HERNANDEZ-DOJ-
                                   .  I
    405      9/19/2023 00032oos25v
                         September 2;8, 2018 Email exchange between Elizabeth Hernandez and
                         Steve Murdock Re: Murdock Consulting - COX Testing Introduction
                                      I                        .
    407      9/19/2023 (HERNANDEZ-DOJ-0007216014)
                         September 2:8, 2018 Email exchange between Elizabeth Hernandez and
                                     I

                         Steve Murd1ck Re: Murdock Consulting - COX Testing Introduction
                      . (HERNA~EZ-DOJ~0003204554 through HERNANDEZ-DOJ-
    408      9/19/2023 00032045560
                         October 15, ~018 Email exchange between Elizabeth Hernandez and
                         Sarah Smold1 (Provider Partners) Re: Telehealth Solutions - SPECIAL
    409      9/19/2023 OFFER (HE[RNANDEZ-DOJ-0003201363)                      .
                        November 7( 2018 Email exchange between Elizabeth Hernandez and
                        johnfrey@n4hcr.com Re: Telemedicine Opportunity (HERNANDEZ-
    411      9/19/2023 DOJ-00031~7643 through HERNANDEZ-DOJ-'0003197647)
                        November is, 2018 Email exchange between Elizabeth Hernandez and·
                         Bill Frey Re/ Bill Frey DME referrals FW: BB time sensative
                         (HERNANI?EZ-DOJ-0003197183 through HERNANDEZ-DOJ-
    412      9/19/2023 Q003197185D -
                         January 11, ?,019 Email exchange between pinkeli@aol.com and.Pamela
    416      9/18/2023 Ray Re: D11ERX (HERNANDEZ-DOJ-0000086348)
                                     I
                         January 14, ~019 Em;:i.il exchange between pinkeli@aoLcom and Pamela
    417      9/18/2023   Ray Re: Eli~abeth Hernandez (HERNANDEZ-DOJ-0000086405)
                         January 14, 7019 Email exchange between pinkeli@aoLcom and Pamela
                                     I
    418      9/18/2023   Ray Re: de~erx (HERNANDEZ-DOJ-0000086411)
                         February 2, T' 019 Email exchange (4: 13 :42) between Elizabetli· Hernandez
                         and Ronny Yum Re: CGS DME Mac Video - Ronny Yum
                                     I        '·
     419     9/19/2023   (HERNA~EZ-DOJ-0007217493)
     420     9/14/2023   Medicare M1nute MD Video Re: Telehealth Benefit
    420A     9/14/2023   Medicare Minute.MD Video Re: Telehealth Benefit - Excerpt
    420B     9/14/2023   Medicare Minute MD Video'Re: Telehealth Benefit - Excerpt
    420C     9/14/2023   Medicare Minute MD Video Re: Telehealth Benefit - Excerpt
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   Exhibit      Date
    No.       Admitted
                          February 2, jo19 Email exchange (5:19:29) between Elizabeth Hernandez
                          and Ronny )[um Re: CGS DME Mac Video - Ronny Yum
     421      9/19/2023   (HERNANI),EZ-DOJ-0007217479)
                          February 5, 2019 Email exchange between Elizabeth Hernandez and
                          angela@lstdaremd.com Re: Orientation & Welcome to 1st Care MD -
                                        I                     :
                          Contact Angela once reviewed and complete (HERNANDEZ-DOJ-
              9/19/2023   00033240621 through HERNANDEZ-DOJ-0003324064)
                          February 6, f019 Email exchange between Elizabeth Hernandez apd
                          e.florendo@inedsytnphony.com Re: My signature (HERNANDEZ-DOJ-
     423      9/19/2023   0007215149)through HERNANDEZ-DOJ-0007215150)
                          February 8, '.?,019 Email excliange between Elizabeth.Hernandez and
                          j.simmons@riedsymphony.com Re: Jan 2019 Consults (HERNANDEZ-
     425      9/19/2023   DOJ-00032Q3158)
                          February 9, 2019 Email exchange between Elizabeth Hernandez and
                                       1
                          a11gela@lst9aremd.com Re: DMERX Portal (HERNANDEZ-DOJ-
     426      9/19/2023   0003323105jthrough HERNANDEZ-DOJ-0003323106)
                          March 5, 2019 Email exchange between Elizabeth Hernandez and
                          Marissa Ha~dley (Medsymphony) Re: Payroll (HERNANDEZ-DOJ-
     428.     9/19/2023   0007215052jthrough HERNANDEZ-DOJ-0007215054)
                          March 6, 20}9 Email from ainna@medsymphony.com to
                          support@m~dsymphony.com andjainie@medsymphony:com Re: Letter
                                       I
                          from Jamie ~immons, MedSymphony LLC (HERNANDEZ-DOJ-
     429      9/19/2023   0007215044ltruough HERNANDEZ-DOJ-0007215054)
                                     1
                          April 30, 20~9 Email exchange between Pamela Ray and Elizabeth
     433      9/18/2023   H~rnandez ~e: Trying to reach you (HERNANDEZ-DOJ-0000137264)
                                     I
                           May 4, 201~ Email exchange between Elizabeth Hernandez and Pamela
                                     1
                           Ray Re: Eli~abeth Hernandez states and Cancer form (HERNANDEZ-
     434.      9/15/2023 :poJ.:00037~0562through HERNANDEZ-DOJ-0003710578)
                           Jun~ 5, 201~ Email from pinkeli@aol.com to
                          j.simmons@medsymphony.com Re: Footbaths (HERNANDEZ-DOJ-
     435       9/19/2023 0007215185:)      •                                          •
                         • June 7, 2019i Email from Claudia Fernandez (claudia@dial4md.com) to
                          Elizabeth m::rnandez
                                       I   •
                                                  Re:• Dial4MD (HERNANDEZ-DOJ-0007213978
     436       9/19/2023 through HEJ,™ANDEZ-DOJ-0007213984)
                           June 7, 2019i Email from Elizabeth Hernandez to Claudia Fernandez Re:
                           Di_al4MD•(I--fERNANDEZ-DOJ-000nl3971 through HERNANDEZ-
    437      . 9/19/2023 DOJ-00072l3977)
                           August 13, ~019 Email from pinkeli@aol.com to Dominique Russell _
                                       I         :                                     •
                           (drussell@bartonassociates.com) Re: Yellow discrepancy (HERNANDEZ
     440       9/19/2023 DOJ-OQ03198108)                                            •

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         Exhibit     Date
          No.      Admitted
                               August 26, 2'.019 Emaii exchange betweenpinkeli@aol.com and
                               questions@~smanagepientresources.com Re: Contacting Patients
          442      9/19/2023   (HERN~EZ-DOJ-0007192976)
                               September 29, 2019 Email from pinkeli@aol.com to
                               graceoropes~@gmail.com Re: Federal Law ~nforcement Action
                               Involving Fr~udulent Genetic Testing Results in Charges Against 35
                               Individuals ~esponsible for Over $2.1 Billion in Losses in One of the
                               Largest Health Care Fraud Schemes Ever Charged (HERNANDEZ-DOJ-
          445      9/19/2023 0007192767}
                               April 3, 2020 Email exchange between pinkeli@aol.com and Alicia Hiller
                               (alicia@lifelinerecr:uiting.com) Re: Two new opportunities
                               (HERNANtjEZ-DOJ-0007216550 through HERNANDEZ~DOJ-
          449      9/191-2023 0007216561}
                               April 5, 2020 Email exchange between Michael Stein
                               (~ichael@gfowthlogix.com), Alicia Hiller
                               (alicia@lifelinerecruiting.com) and pinkeli@aol.com Re: Two new
                             _ opportunitie~ (HERNANDEZ-DOJ-0007216526 through HERNANDEZ-
          450      9/18/2023 DOJ-00072~6536) ,                                                      •
                               August 10, ~020 Em~il from Michael Stein to Elizabeth Hernandez Re. -
          453      9/20/2023 Updates to Workflow                                  -
                               August 11, ~020 Email exchange between Doug Bright
                               (dbrightl@iol.com)and                      •
                               Elizabeth H~rnandez (elizabeth.hernandez.aprn@gmail.com) Re: Genetic
          454      9/19/2023 Screening R~sults (HERNANDEZ-DOJ-000721694)
                               September 1:1, 2020 Email exchange between Dominique Russell -
                               (drussell@b~rtonassociat~s.com) and pinkeli@aol.com Re: RCE
                              Instructions ~RNANDEZ-DOJ:-0003198055 through HERNANDEZ-
          455      9/19/2023 DOJ-00031 ~8057)
                               September 23, 2020 Email
                                           ;          .     exchange between pinkeli@aol.com and Scott
                              Allen (scott@rcelive.com) and Ivan Castro (ivan@rcelive.com) Re: Fwd:
                              Patient Statihg
                                            i
                                               RCE is Fraud and
                                                              -
                                                                 Alerted Medicare and- federal authorities
                               (HERNANDEZ-DOJ-0004596516 through HERNANDEZ-DOJ-
          456      9/19/2023 4596519)                -
                               September 29, 2020 Email exchange between whboss@gmaiLcom and
                              Elizabeth H9rnandez ( elizabeth.hernandez.aprp@gmail.com) Re: Genetic
          457      9/19/2023 Testing Scr~ening Results (HERNANDEZ-DOJ-0007210633)
                               September 310, 2020 Email exchange between pinkeli@aol.com and
                               scott@rceli+.com arid brandie@rceliVe.com Re: Fwd: MediOrbus
          458      9/19/2023 Patient said palling the police (HERNANDEZ-DOJ-0007175116)




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       Exhibit       Date
        No.        Admitted
                                October 14, 2020 Email exchange between pinkeli@aol.com and Michael
                                Stein (michab1@fiowthlogix.com) Re: Need results STAT- Pt is
                                claiming that we are a fraud (HERNANDEZ-DOJ-0005913991 through
                                             I          -
        460        9/19/2023    HERNAND~:Z-DOJ-0005913993)
                                October 15, 2020 Email exchange between pinkeli@aol.com and
                                evecharity@~ol.com Re: Fwd: John - Your Lab Results Are Ready, Now
                                Schedule yobr Genetic Counselor Consultation (HERNANDEZ-DOJ-
        461        9/19/2023    0004607090[through HERNANDEZ-DOJ-0004607091)
                                October 22, 7020 Email exchange between Takeya Collins
                                (tsoltero@gtjlail.com) and pinkeli@aol.com Re: Fwd: fml. ... how crazy
                                (HERNAlID,EZ-DOJ-0005951905 through HERNANDEZ~DOJ-
                                             l
        462        9/19/2023    00059519220
                                October 24, ~020 Email from eFax (message@inbound.efax.com) to
                                            I

                                pinkeli@aol\com Re=:eFax message from "9735950908" - 2 page(s),
                                Caller-ID: + {9735950908 (HERNANDEZ-DOJ-0003442717 through
        463   c    9/19/2023    HERNAND:PZ-DOJ-0003442719)
                                           I
                                           I
                                           I

        467        9/18/2023    Screenshot tjf email from Maria Aleu (HERNANDEZ-DOJ-000~238135)
   0
                                July 9, 20I91Email from Elizabeth Hernandez to
                                graceoropesi@gmail.com Re: Fwd: New Telehealth Legislation
                                (HERNANl?EZ-DOl-0003300502 through HERNANDEZ~DOJ-
        468        9/19/2023    0003300505)
                                September 3), 2019 Email from Elizabeth Hernandez (pinkeli@aol.com)
                                           I

                                to Elaine Flores Re: For Signature Batch 2 (HERNANDEZ-DOI-
                                             I
        471        9/19/2023    0003202797D
                                July 18, 2020I Email from Joanna Ledesma to Elizabeth
                                                                                   -
                                                                                      Hernandez
                                (pinkeli@aotcom)
                                             I
                                                    Re: BCX- Male with
                                                                     ..
                                                                          Ovarian CA? (HERNANDEZ-
        472        9/13/2023    DOJ-00035~0768)
                                Composite ~xhibit of August 12, 2020 Emails and texts between Joanna
                       -
                                Ledesma, Eljizabeth Hernandez, and Michael Stein regarding IP address
        473       . 9/13/2023   23.121.17.84
                                March 21, 2019 Email exchange with Joe Bretti Re: [No Subject]
        476        9/19/2023    [HERNANDEZ--DOJ-0007193458]
                                February 5, 2019 Email from Elizabeth Hernandez to
                                noreply@mail.hellosign.com Re: Everyone Has Signed Clinician Service
        477        9/19/2023    Agreement:
                                May 28, 20'.40 Email from Elizabeth Hernandez to Neifa Nayor Re. Fwd.
        480        9/20/2023    Confirmed teservation - Fanta-Sea
                                January 9, 2020 1:57PM Email from EvelynHernandez to Elizabeth
                                             I                                           -
        481        9/20/2023    Hernandez Re. Fwd. Costco Travel: Confirmation #C369487891
                                February 26( 2019 Email from Elizabeth Hernandez to Grace Oropesa Re.
        490        9/20/2023    Fwd: Assignment of Patients and Telemedicine

                                                         12 •
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   Exhibit


                          October 28, 2019 Letter from Florida Department of Health
                          (HERNANDEZ-DOJ-0003259207 through HERNANDEZ-DOJ-
                                      1
     501     9/19/2023    00032592109
                                         I                                                     -
     505     9/19/2023    October 4, 2p20 Letter from Tricare (HERNANDEZ-DOJ-0004469132)
                          Novemoer 1~, 2020 Letter from Hernandez to Tricare (HERNANDEZ-_
     506     9/19/2023    DOJ-0006543041)                                              -
                          Jariuary 13, :2021
                                        1
                                              Letter
                                                  .
                                                     from Hernandez to Medicare (HERNANDEZ-
     507     9/19/2023    DOJ-0003290287)
                          February 10)1 2021 Letter
                                                  .
                                                      from Florida Department of Health     .
                          (HERNANI?EZ-DOJ-0003300191 through HERNANDEZ-DOJ-_
     508     9/19/2023    0003300199~
                          Handwritten!I Document Found in. Elizabeth Hernandez's Residence
     510     9/19/2023    (HERNANDEZ~0000005554 through HERNANDEZ_00()0005555)
     512     9/19/2023    April i9, 2019 Video of Elizabeth Hernandez Making Police Report
     513     9/19/2023    Brl:lces collebted from D.D. (Physical Evidence)
     514     9/14/2023    Photcis _and ]Descriptions of Various Orthotic Devices
    517A     9/18/2023    Clinician Exlam Oyevi_ew Video - Part 1 (Patient Info and Triage)
                          Clinician E:xlam
                                        i
                                            Oveview
                                                 .
                                                       Video - Part 2 (Comprehensive
                                                                        •
                                                                                     and Specific
    517B     9/18/2023    Exam)         i
                          Clinician E1am Oveview Video - Part 3 (Clinician Acknowledgements
    517C     9/18/2023    and E-Signature)
                                      I
     518     9/15/2023    Letter from Whittemores to Elizabeth Hernandez Dated October 15, 2020
    51'9A    9/19/2023    Excerpt of}\1ay 16, 2023 Elizabeth Hernandez's Testimony
     522     9/15/2023

     600     9/19/2023-
                          Hernandez's/Total Deposits from Listed Sources, Aug 2018 through Jan
     601     9/19/2023    2021       )      •
                         Deposits into Bank of America Account Ending in x5046 From Select
     602     9/19/2023 Entities with Date Ranges
                         Deposits Be;tween August 2018 and May 2021 to Account of Elizabeth
     603     9/19/2023 • Hernandez ~nd Christopher Sanchez from Selected Sources
                         Payments fr9m Ocean Power Media to Elizabeth Hernandez.and
     604     9/19/2023 Payments frpm ElizabethHernanez to Antonio Gousgounis -Timeline
     605     9/18/2023 Payments frpm Elizabeth Hernandez to Antonio Gousgounis
     606     9/13/2023 Payments frpm Elizabeth Hernandez to Joanna Ledesma
                         Select Disb~rsements from Bank of America Accounts Ending x0546 and
                                     I

     607     9/19/2023 x0559         '



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    Exhibit     Date
     No.      Admitted
                          April 2, 201~ H.C. Sunrise (DMERx) Doctor's 0:rder (HERNANDEZ-
                                            I
     705      9/15/2023   DOJ-000314;5553 through HERNANDEZ~ DOJ-0003145563)
                          January 14, 2019 G.A. DMERx Doctor's Order (HERNANDEZ-DOJ-
     710      9/14/2023   0003142105Jthrough HERNANDEZ-DOJ-0003142113)
                          February 5, 2019 L.S. DMERx Doctor's Order (HERNANDEZ-DOJ-
     712      9/14/2023   0003187644!through HERNANDEZ-DOJ-0003187658)
                          February 20,12019 J.R. DMERx Doctor's Order (HERNANDEZ-DOJ-
     713      9/14/2023   00031844 70lthrough HERNANDEZ-DOJ-00031844 78)
                          March 8, 20}9 G.H. DMERx Do.ctor's Order (HERNANDEZ-DOJ-
     714      9/14/2023   0003160671ithrough HERNANDEZ-DOJ-0003160685)
                          March 8, 2019 S.A. DMERx Doctor's Order (HERNANDEZ-DOJ-
     715      9/14/2023   09031425831 through HERNANDEZ-DOJ-0003142591)
                          April 16, 20io K.B. MP3 Laboratory Cardio Requisition Form
                          (HERNANJ:?EZ-DOJ-000967 4644 through HERNANDEZ-DOJ-
     716      9/15/2023   00096746470
                          April 17, 2020 D;C. MP3 Laboratory Cardi9 Requistion Form
                          (HERNANJ:?EZ-DOJ-0009675454 through HERNANDEZ-DOJ-
     717      9/13/2023   00096754570
                          April 17, 20¥0 M.A. MP3 ~aboratory Cardio Requisition Form
                          (HERNANDEZ-DOJ-0009675426 thrnughHERNANDEZ-DOJ-
                          .             I
     718·     9/15/2023   0009675429)
                          April 17, 20¥0 R.E. MP3 Laboratory Cardio Requisition Form
                          (HERNANJ:?EZ-DOJ~0009675506_through HERNANDEZ-DOJ-
     719      9/15/2023   0009675509)
                          April 18, 20¥0 S.F, M~3 Laboratory Cardio Requisition Form
                          (HERNANDEZ-DOJ-0009677132 through HERNANDEZ-DOJ-
                                       I
     720      9/15/2023   0009677135:)
                          April 19, 20¥0 T.A. AmeriHealth Laboratory Requisition Form
                          (HERNANDEZ-DOJ-0009677398
                                      I          .
                                                           through HERNANDEZ-DOJ-
     721      9/13/2023   0009677399i)
                          April 20,20~0 S.B. AmeriHealth Laboratory Requisition Form
                          (HERNAN~Ez.:DOJ-0009678012 through HERNANDEZ-DOJ-
     722      9/15/2023   0009678013,)
                          May 13, 20~0 C.F. Amerihealth Laboratory Requisition Form
                                    I                                    .

                          (HERNANIJ>EZ-DOJ-0009677086 through HERNANDEZ-DOJ-
     723      9/15/2023   0009677087J)
                          June 3, 2020 J.G. AmeriHealth Laboratory ;R.equistion Form
                          (HERNANIDEZ-DOJ-0009691318
                                      I
                                                           through HERNANDEZ-DOJ-
     724      9/15/2023   000969131 Q)
                          June 3, 202~ R.D. AmeriHealth Laboratory Requisition Form
                          (HERNANDEZ-DOJ-0009691354 through HERNANDEZ-DOJ-
     725      9/15/2023   0009691355)

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   Exhibit     Date
    No.      Admitted
                         August 12, ~020 AmeriHealth Laboratory Requisition Forms
                         (HERNANDEZ-DOJ-0009687
                                     1     .
                                                     43 8 through HERNANDEZ-DOJ-
     726     9/15/2023   00096877159
                         August 20, ~020 AmeriHealth Laboratory Requisition Forms
                         (HERN_ANpEZ-DOJ-0009675086 through HERNANDEZ-DOJ-
                                    1

     727     9/15/2023   00096751119
                                    I
                         September 4~ 2020 Laboratory Requisition Forms (HERNANDEZ-DOJ-
     728     9/15/2023   0009679206jthrough HERNANDEZ-DOJ-0009686461) • •
                         September 2~ 2020 B.R. First Choice Laboratory Cardio Requisition Form
                         (HERNANI)EZ-DOJ-0007173542 through HERNANDEZ~DOJ-
                                      1
     729     9/15/2023   00071735459
                         June
                           .
                              22, 2020 I
                                         R.E. First Choice Laboratory CGx Requisition Form
                         (HERNA~EZ-DOB-0000045560 through HERNANDEZ-DOB-
     730     9/15/2023   0000045564~
                         June 1, 202Q M.E. First Choice Laboratory CGx Requisition Form
                                      i
                         (HERNANDEZ-DOJ3-0000011172 through HERNANDEZ-DOB-
     731     9/15/2023   00000111760
                         June 1, 2029 E.H. First· Choice CGx Requisition Form (HERNANDEZ-
     732     9/13/2023   DOJ3-0000Q 13562 through HERNANDEZ"'.DOJ-0000013566)
                         July 28, 202p S.P. First Choice CGx Requisition Form (HERNANDEZ-
     733     9/15/2023   DOJ3-0000Q14773 through HERNANDEZ-DOB-0000014777)
                         September 1;0, 2020 R.J. Bio Choice CGx Requisition Form
                         (HERNANPEZ-DOB-0000008442
                                      1
                                                                through
                                                                      .
                                                                        HERNANDEZ-DOB-
     735     9/13/2023   oooooo8447D
                         September 117, 2020 S.B. Sonoran Cardio Requisition Form
                                      I
                         (HERNANJ:?EZ-DOJ3-0000008886 through HERNANDEZ-DOB-
     736     9/15/2023   0000008889J
                         September ~4,I
                                         2020 J.K.• Sori:oran
                                                     .
                                                              Cardio Requisition Form
                         (HERNANJ::?EZ-DOJ-0005881486 through HERNANDEZ-DOJ-
     737     9/15/2023   0005881489i)
                         September 4!, 2019 Email from pinkeli@aol.com to Elaine Florendo
                         (Medsymph~ny) attaching Bioconfirm orders (HERNANDEZ-DOJ-
     738     9/15/2023   000326375~ through HERNANDEZ-DOJ-0003263831)
                         June 23, 20~0 J.W. AmeriHealthRequisition Form (HERNANDEZ-
     739     9/15/2023   DOJ3-0000~00014)
                         J.W. AccessDx Genetic Testing Results (HERNANDEZ-DOJ-
     740     9/15/2023   000740185~ throµgh HERNANDEZ-DOJ-0007401860)
                         August 16, '.?020 M.N. AmeriHealth Requisition Form (HERNANDEZ,.
     741     9/15/2023   DOJ-0009689892 through HERNANDEZ-DOJ-0009689893)
                         July 24, 2020 P.K. AmeriHealth Requisition Form (HEllNANDEZ-DOJ-
     742     9/15/2023   00.09691506 through HERNANDEZ-DOJ-0009691507)


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   Exhibit     Date
    No.      Admitted
                        October 1, 2p20 M.B. Sonoran CGx Requisition Form (HERNANDEZ-
     743     9/13/2023 DOJ3-0000Q17057 through HERNANDEZ-DOB-0000017061)
                        September 2~, 2020 L.H. Sonoran CGx Requisition Form
                                      I
                        (HERNANJ:?EZ-DOB-0000025693 through HERNANDEZ-DOB-
     744     9/15/2023 0000025697)
                                   1
                        June 23, 20Z 0 R.C. Requisition Form (HERNANDEZ-DOJ-0009687894
                                     I
     745     9/15/2023 through HE~ANDEZ-DOJ-0009687895)
                        January 30, '.?019 E.A. DMERx Order (HERNANDEZ-DOJ-0003142198
     746     9/14/2023 through HE~EZ-DOJ-0003142206)
                       •February 1, r019 E.O.'s DMERx Order (HERNANDEZ-DOJ-
     747     9/14/2023 000318017 6j through HERNANDEZ-DOJ-0003180181).
                        February 27,i 2019 P.R.'s DMERx Order (HERNANDEZ-DOJ-
     748     9/14/2023 00031845851 through HERNANDEZ-DOJ-0003184593) . •
                        April 3, 2019 H.H.'s DMERx Order (HERNANDEZ-DOJ-0003161230
                                     I
     749     9/14/2023 through HE~ANDEZ-DOJ-0003-161238)
                        February 25J 2019 R.T.'s DMERx Order (HERNANDEZ-DOJ-
     750     9/14/2023 0003192180) through HERNANDEZ-DOJ-0003192188)

                        January 14,
                                .
                                    2019
                                     [
                                           Excerpt from AT&T Phone Records for
                                                                            .
                                                                                 Elizabeth
                        Hernandez (p05) 505-8421 (HERNANDEZ-DOB-0000046408 through
     807     9/19/2023 HERNANDpZ-DOB-0000067817)                        •
                      • February 5, io19
                                     I
                                           Excerpt from AT&T Phone Records
                                                                    • •
                                                                            for Elizabeth
                        Hernandez (305)
                                     I
                                           505-8421 (HERNANDEZ-DOB-0000046408. through
     .809    9/19/2023 HERNANDpZ-DOB-0000067817)
                        February 20~ 2019 Excerpt from AT&T Phone Records for Elizabeth
                        Hernandez (305) 505,.8421 (HERNANDEZ-DOB-0000046408 through
                        .            I                                         .
     811     9/19/2023 HERNANDpZ-DOJ~-0000067817)
                        March 1, 20 ~ 9 Excerpt from AT&T Phone Records for Elizabeth
                        Hernandez (p05) 505-8421 (HERNANDEZ-DOB-0000046408 through·
     812_    9/19/2023 HERNANDpZ-DOB-0000067817)
                        March 8, •20[I 9 Excerpt from AT&T Phone Records for Elizabeth
                        Hernandez (p05) 505-8421 (HERNANDEZ-DOB-0000046408 through
     813     9/19/2023 HERNAND~Z-DOJ3-:000Q06?817)
                        March 11, 2019 Excerpt from AT&TPhone.Records for Elizabeth
                                     !          .   .
                        Hernandez (p05) 505-8421 (HERNANDEZ-DOB-:0000046408 through
     814     9/19/2023 HERNANDpZ-DOB-0000067817)
                       •March 15, 2019 Excerpt from AT&T Phone Records forElizabeth
                                    I
                      • Hernandez (BOS)
                                    I
                                           505-8421 (HERNANDEZ-DOB-0000046408 through
     817     9/19/2023 HERNAND;EZ-DOB-0000067817)
                        March 17, 2019 Excerpt fro.m AT&T Phone Records for Elizabeth
                        Hernandez (305) 505-8421 (HERNANDEZ-DOB-0000046408 through
     818     9/19/2023 HERNAND;EZ-DOJ3-0000067817)

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   -Exhibit     Date
     No.      Admitted
                           March 19, 2019 Excerpt from AT&T Phone Records for Elizabeth_
                           Hernandez (305)
                                         I
                                              505-8421 (HERNANDEZ-DOB-0000046408           .
                                                                                              through
     819       9/19/2023 HERNANDpZ-DOB-0000067817) .
                           March
                             •
                                  26, 20-19
                                         I
                                             Excerpt from AT&T Phone Records for Elizabeth
                           Hernandez (p05) 505-8421 (HERNANDEZ-DOJ3.,0000046408 through
                                        '      •              •
     821       9/19/2023 HERNANDpZ-DOB-0000067817)
                           March 27, 2?19 Excerpt from AT&T Phone Records for Elizabeth
                           Hernandez 005) 505,.8421 (HERNANDEZ-DOJ3-000004640S-through
                                     •   '
     822       9/19/2023 HERNANDEZ-DOB-0000067817)
                           March 28; 2019 Excerpt from AT&T Phone Records for Elizabeth
                                         I
                           Hernandez
                                   •
                                       (;305)
                                         '
                                              505-8421 (HERNANDEZ-DOB-0000046408 through
     823       9/19/2023 HERNAND~Z-DOB-0000067817) _
                           April 4, 2019 Excerpt from AT&T Phone Records for Elizabeth
                           Hernandez (305) 505~842r (HERNANDEZ-DOJ3~0000046408 through
                                         I .                .
     825       9/19/2023 HERNANDpZ-DOB-0000067817)
                           Apr1l 8, 2019I Excerpt from AT&T
                                                          .
                                                                Phone Records for Elizabeth
                                                                                   .         .
                           Hernandez (p05) 505,.8421 (HERNANDEZ-DOB-0000046408 through
     826       9/19/2023 HERNANDEZ-DOB-0000067817)
                           September ~, 2019 E~_cerpt from AT&T Phone Records for Elizabeth
                           Hernandez (~05) 505-8421 (HERNANDEZ-DOB-0000046408 through
     828       9/19/2023 HERNANDpZ-DOJJ-0000067817)
                           April 16, 2020 Excerpt from AT&T Phone Records for Elizabeth
                                        I
                           Hernandez (p05) 505;-8421 (HERNANDEZ-DOJ3-0000046408 through
                                        '               -
     829       9/19/2023 HERNANDpZ-DOB-0000067817)
                           April 17, 20f OExcerpt from AT&T Phone Records for Elizabeth
                           Hernandez (p05) 505-8421 (HERNANDEZ:.DOB-0000046408 through
     830       9/19/2023 HERNANDpZ-DOB-0000067817)
                           April 18-19,12020 Excerpt from AT&TPhone Records for Elizabeth
                                        I                                            •.      .
                           Hernandez (805) 505-8421 (HERNANDEZ-DOB-0000046408 through
                              •         '
     831       9/19/2023 - HERNANDpZ-DOB-0000067817)
                           April-20, 2020 fac~erpt from AT&T Phone Records for Elizabeth
                           Hernandez (;305) 505.-8421 (HERNANDEZ-DOB-0000046408 through
     832       9/19/2023 HERNAND~Z~DOB-0000067817)                                      -
                           May 13, 20~0 Excerpt from AT&TPhone Records for Elizabeth
                           Hernandez (305) 505.--:8421 (HERNANDEZ-DOB-0000046408 through
     833      .9/19/2023 HERNAND;EZ-DOB-0000067817)                                       - •
                           June 1, 2020 Excerpt from AT&T Phone Records for Elizabeth
                                        I
                           Hernandez Q305) 505-8421 (HERNANDEZ-DOB-0000046408 through
     834       9/19/2023 HERNAND;EZ-DOB-0000067817)
                           June 3, 202~ Excerpt from AT&T Phone Records for Elizabeth
                           Hernandez (305) 505-8421 (HERNANDEZ-DOB:0000046408 through
     835       9/19/2023 HERNAND,EZ-DOB-0000067817)

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    Exhibit       Date
     No.        Admitted
                              June 22, 2020 I
                                              Excerpt from AT&T Phone Records . for Elizabeth
                             Hernandez (p05) 505-8421 (HERNANDEZ-DOB-0000046408 through
     836         9/19/2023 HERNAND,EZ-DOB-0000067817)
                              June 23, 20~0 Excerpt from AT&T Phone Records for Elizabeth
                                            I
                             Hernandez (p05) 505-8421 (HERNANDEZ-DOB-0000046408 through
     837         9/19/2023 HERNANDEZ-DOB-0000067817)
                             July 23, 202p Excerpt from AT&T Phone Records for Elizabeth
                             Hernandez (305) 505f8421 (HERNANDEZ-DOB-0000046408 through
                                        I

     839         9/19/2023 HERNANDEZ-DOB-0000067817)
                             July 24, 2020 Excerpt from AT&T Phone Records for Elizabeth
                             'Hernandez
                                 .
                                         (305)
                                            I
                                                505-8421
                                                     .
                                                          (HERNANDEZ-DOB-0000046408 .
                                                                                             through
     840         9/19/2023 HERNAND,EZ-DOB-0000067817)
                             July 28, 20210 Excerpt from AT&T Phone Records for Elizabeth
                             Hernandez (p05) 505:.8421 (HERNANDEZ-DOB-0000046408 through
     841         9/19/2023 HERNAND,EZ-DOJ3-000006'Z8 l 7)
                             August 16, 2020 Excerpt from AT&T Phone Records for Elizabeth
                             Hernandez ([305) 505-8421 (HERNANDEZ-DOB-0000046408 through
     843         9/19/2023 HERNANDEZ-DOJ3.,00000678 l 7)
                           . August 16, 2020 Excerpt from AT&T-Phone Records for-M.N.
     844         9/15/2023 (HERNANPEZ_ 0000069118)
                             September~, 2020 Excerpt from AT&T Phone Records for Elizabeth
                             Hernandez (p05) 505-8421 (HERNANDEZ-DOB-0000046408 through
     846      : 9/19/2023 HERNAND,EZ-DOB-0000067817)
                             September 110, 2020 Excerpt from AT&T Phone Records for Elizabeth
                             Hernandez (~05) 505:.8421 (HERNANDEZ-DOB-0000046408 through
     848         9119/2023 HERNAND,EZ-DQJ3.,00000678 l 7)
                             Septmber 17, 2020 Excerpt from AT&T Phone Records for Elizabeth
                                          I
                             Hernandez (305) 505-8421 (HERNANDEZ-DOB-0000046408 through
     849         9/19/2023 HERNAND~Z-DOB-0000067817)
                             Septmembef 22, 2020 Excerpt from AT&T Phone Records for Elizabeth
                             Hernandez (1305) 505-8421 (HERNA~EZ-DOB:-0000046408 through
     850         9/19/2023 HERNANDEZ-DQJ3,.00000678 l 7)
                             September ~4, 2020 Excerpt from At&T Phone Records for Elizabeth
                             Hernandez <l305) 505-8421 (HERNANDEZ-DOB-0000046408 through
     851         9/19/2023 HERNANDEZ-DOB-0000067817)
                             October 1, 2020 Excerpt from AT&T Phone Records for Elizabeth
                                          I
                             Hernandez ~305) 505-8421 (HERNANDEZ-DOB-0000046408 through
                                          I        '                                     •
     852         9/19/2023 HERNAND;EZ-DOB-0000067817)
                             March 27, 2;019 Excerpt from AT&T Phone Records for D.D.
     853         9/15/2023 (HERNANDEZ_0000069159 through HERNANDEZ_0000069167)
                             June 23, 2020 Excerpt from AT&T Phone Records for A.C.
     854       . 9/15/2023 (HERNANJ?EZ_ 0000069270 through HERNANDEZ_0000069272)

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   Exhibit       Date
    No.       Admitted
    855       9/15/2023  AT&T Subspribetlnforniation for D.D/ (HERNANDEZ_0000069356) -
    856       9/15/2023  U.S. Cellula;r Phone Records for P.K.
    857       9/15/2023  Phone recor~ for J.W. and B.W. May-June 2020
    858"      9/15/2023  Phone recor~ for J.W. and B.W. June-July 2020
    859       9/15/2023  AT&T Subspriber Information for A.C. (HERNANDEZ~0000069357)
                         January 30, 2019 Excerpt from AT&T Phone Records for Elizabeth
     860     9/19/2023 - Hernandez J                                     -      ·

                         February 1, ~019 Excerpt from AT&T Phone Records for Elizabeth
     861     9/19/2023 Hernandez j
                         February 25) 2019 Excerpt from AT&T Phone Records.for.Elizabeth
     862     9/19/2023 Hernandez j
                         February 27J 2019 Excerpt fromAT&T Phone Records for Elizabeth
     863-    9/19/2023 Hernandez f                                     -

                         April 3, 2019 Excerpt from AT&T Phone Records for Elizabeth
     864     9/19/2023 Hernandez j                 -
     865     9/19/2023 Verizon Pho'.ne Record for A.R.

                          ·summary - Panda Conservation Group (Zoho) Time Elapsed Between
     901     9/15/2023    Doctor Assiked and Signature                         _ •
                          Summary - ~anda Conservation Group (Zohci) Time Elapsed Between
    ·902     9/15/2023    Doctor Assigned and Signature for M.N.
     903     9/19/2023    DMERx IP )\ddresses for Doctor's Orders

    ·1002    9/15/2023
                         Records fr01h Apple Inc. for pinkeli@aol.com (Elizabeth Hernandez's
     1004    -9/20/2023 Apple Accoint)                                          -
                         Records froih Apple Inc. for pinkeli@aol.com (Elizabeth Hernandez's
                                     I                                              -
     1005     9/2_0/2023 Apple Acco~nt)                    •
                         Records froip Apple Inc. for pinkeli@aol.com (Elizabeth Hernaridez;s
                                     I                                            -         -
     1006     9/20/2023 Apple Account)




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